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                         UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

   KEVIN PICKERING,

                        Plaintiff,

   v.                                                      Case No: 6:21-cv-608-GAP-EJK

   UNITED AIRLINES, INC.,

                        Defendant.


                                              ORDER
          This case is before the Court without oral argument on Defendant’s Motion

   to Reopen Action and to Enforce the Parties’ Settlement Agreement (Doc. 19). 1

   Plaintiff, who is proceeding pro se, did not respond to the motion. The Court has

   also considered Defendant’s Response (Doc. 27) to the Court’s Order to Show

   Cause (Doc. 26).

          Plaintiff Kevin Pickering (“Pickering”) sued Defendant United Airlines, Inc.

   (“United”) under the Florida Civil Rights Act and the Florida Private

   Whistleblower Act. See Doc. 1. United moved to dismiss the complaint, and the

   Court granted that motion. See Doc. 16. After extended negotiations, United

   offered to settle this case for $6,750 and transmitted a draft settlement agreement.


          1
             The Court granted the first request in this motion—to reopen the case—on August 24,
   2021. See Doc. 25.
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   That agreement included the following terms: (a) Pickering would not be

   reinstated; (b) the terms would remain confidential; (c) United would make no

   admission of liability; and (d) Pickering would dismiss the instant action and

   withdraw any charge of discrimination filed against United. Pickering agreed to

   those terms and United filed a notice of settlement. The next day, Pickering’s

   counsel informed United that Pickering was “backing out of the settlement.”

         Courts possess inherent authority to enforce settlement agreements. BP

   Prods. N. Am., Inc. v. Oakridge at Winegard, Inc., 469 F. Supp. 2d 1128, 1133 (M.D.

   Fla. 2007). Florida law governs whether the parties reached an enforceable

   settlement agreement. Id. Under Florida law, “[w]here the parties have agreed to

   the essential terms of a settlement, it will be enforced.” State Farm Mut. Auto. Ins.

   Co. v. InterAmerican Car Rental, Inc., 781 So. 2d 500, 502 (Fla. 5th DCA 2001). These

   essential terms “must be specific and mutually agreeable.” Castro v. Cap. One

   Servs., LLC, No. 16-CV-889, 2017 WL 8809513, at *1 (M.D. Fla. June 8, 2017).

         The parties here agreed to all material terms of the settlement agreement.

   After substantial negotiations, United sent Michael G. Mann, Pickering’s counsel

   at the time, a “copy of United’s settlement agreement” for him to review. Doc. 19

   at 22. Mr. Mann then responded “[l]et’s do it,” signifying his assent to the terms of

   the settlement agreement on behalf of his client. See Hannah v. Armor Corr. Health

   Servs., Inc., No. 19-CV-596, 2021 WL 2668495, at *3 (M.D. Fla. June 3, 2021)



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   (holding that a response to an email “outlin[ing] the essential terms of the

   agreement” that read “Confirmed. Case is settled” was sufficient to find asset).

   The series of emails between counsel here was sufficient to create a binding

   settlement agreement. D.B.C. Corp. v. Nucita Venezolana, C.A., No. 18-25225-CIV,

   2020 WL 8872096, at *1 (S.D. Fla. June 15, 2020) (“Florida law is clear that a

   settlement can be reached through a series of e-mail exchanges.”). Pickering does

   not dispute that his attorney entered into this settlement agreement on his behalf,

   nor that his attorney had “clear and unequivocal authority to settle on [his]

   behalf.” Welch v. N. Am. Tank Line, Inc., No. 06CIV2340, 2008 WL 3982394, at *3

   (M.D. Fla. Aug. 25, 2008). 2 And there is no doubt that the parties “seriously

   underst[ood] and intend[ed] the agreement to be binding on them,” considering

   both parties agreed to file a notice of settlement with the Court. Blackhawk Heating

   & Plumbing Co., Inc. v. Data Lease Fin. Corp., 302 So. 2d 404, 408 (Fla. 1974).

          The only potential barrier to enforcement of this agreement is its revocation

   clause. That provision provides that:

                 EMPLOYEE is hereby informed he/she will have seven
                 (7) calendar days after signing the Agreement to revoke
                 his/her signature. Such a revocation must be made by

          2
             Indeed, the email thread attached to the Motion supports Mr. Mann’s authority to enter
   a settlement on Pickering’s behalf. He frequently states that “Plaintiff will reduce” his demand
   by a certain amount. E.g., Doc. 19 at 23, 25. And the authority to make offers—like Mr. Mann does
   here—necessarily includes the ability to enter into a binding settlement agreement. Vital
   Pharmaceuticals, Inc. v. S.A.N. Nutrition Corp.. No. 06-60646-CIV, 2007 WL 1655421, *5 (S.D. Fla.
   2007)




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                 providing written notice prior to the close of business on
                 the seventh day after the date on which EMPLOYEE
                 executes the Agreement, to United at Mary O’Neil,
                 Esquire and at [Redacted in Document]. Failure to
                 revoke within seven (7) calendar days will result in this
                 waiver and release being effective and enforceable. If
                 EMPLOYEE revokes within seven (7) calendar days, the
                 entire Agreement is void.

   Doc. 19 at 43.

          Pickering failed to comply with the agreement’s plain language and his

   attempted revocation was therefore ineffective. “[W]here the language of a

   contract is clear and unambiguous, a trial court is not at liberty to modify the

   agreement and therefore must give effect to its express provisions.” Dickerson Fla.,

   Inc. v. McPeek, 651 So. 2d 186, 187 (Fla. 4th DCA 1995). And this language lays out

   a clear procedure to revoke the settlement agreement. Pickering failed to comply

   with this procedure; he only contacted United’s counsel, not Mary O’Neil as

   required. See Woods v. Denver Dep’t of Revenue, Treasury Div., 45 F.3d 377 (10th Cir.

   1995); Copeland v. Dapkute, No. 17-cv-01566, 2018 WL 5619672 (D. Md. Oct. 30,

   2018). There is no basis to deviate from the agreement’s procedure, so the Court

   will enforce the settlement agreement. 3




          3
            The fact that the actual agreement is unexecuted does not preclude the Court from
   enforcing it. “The execution of a settlement agreement is merely a procedural formality and is not
   a condition precedent to an enforceable settlement agreement.” Hannah, 2021 WL 2668495, at *3.




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         One problem remains, however. The settlement agreement transmitted to

   Pickering’s counsel left blank the percentage of the $6,750 settlement amount to be

   paid to Pickering’s attorney. See Doc. 19 at 33 ¶ 2.1. United omitted this at the

   attorney’s request. See Doc. 19 at 21 (Mr. Mann requesting that United “hold

   processing the check amounts until [he] can confirm attorneys’ fees and costs”).

   This exclusion does not preclude the Court from enforcing the settlement

   agreement, as it is not an essential term in the agreement. Spiegel v. H. Allen Homes,

   Inc., 834 So. 2d 295, 297 (Fla. 4th DCA 2002) (“Uncertainty as to nonessential

   elements . . . will not preclude enforcement of a settlement agreement”). Instead, it

   is a mere procedural question in the settlement process: To whom will the checks

   be cut, and in what percentage of the total agreed-to amount? The Court will give

   Pickering’s prior counsel an opportunity to assert what this amount should be.

         Finally, United requests its fees incurred from bringing this motion. It asks

   for these fees under either the settlement agreement or under the Court’s inherent

   power to sanction. Doc. 19 at 13. The Agreement provides that a prevailing party

   “will . . . be entitled to recover reasonable attorney’s fees and other costs in a

   proceeding to enforce any of the provisions of this Agreement.” Doc. 19 at 41.

   Again, the clear language of the agreement provides that United is entitled to its

   fees. The Court will grant this request.

         Therefore, it is ORDERED that:



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      1) The Motion to Reopen Action and to Enforce the Parties’ Settlement

         Agreement (Doc. 19) is GRANTED.

      2) The settlement agreement that United transmitted to Pickering’s counsel on

         June 9, 2021 is deemed to be the binding agreement entered into between

         the parties.

      3) The Clerk shall send (via email and USPS) a copy of this Order to Plaintiff’s

         former counsel, Michael G. Mann. Within 14 days of this Order, Mr. Mann

         shall file with the Court a claim for his attorney’s fees. Plaintiff may object to

         that claim within 14 days of its filing. Should Plaintiff object to that claim,

         the Court will direct United as to the proper amount to pay Mr. Mann.

      4) After receiving notice of the proper amount of money to pay Mr. Mann,

         United is directed to pay Pickering and Mr. Mann the respective amounts

         owed, as contemplated by ¶ 2.1 of the settlement agreement and file

         confirmation of this payment on the docket.

      5) Upon receiving that confirmation, the Court will dismiss the case with

         prejudice.

      6) Defendant shall file an itemized request for attorney’s fees incurred in

         bringing this Motion, along with a justification for those fees, within 14 days

         of this Order. Any objection to that fee request shall be filed within 14 days

         of Defendant’s request.



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      7) The Clerk is directed to mail a copy of this Order to Plaintiff.

           DONE and ORDERED in Chambers, Orlando, Florida on September 27,

   2021.




   Copies furnished to:

   Counsel of Record
   Unrepresented Party




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